               Case 2:17-cr-00561-GW Document 101 Filed 01/11/21 Page 1 of 6 Page ID #:892

                                                        United States District Court
                                                        Central District of California
                                                             **AMENDED**
 UNITED STATES OF AMERICA vs.                                                Docket No.            CR 17-561-GW                          JS-3

 Defendant           TAMYZIA PRESHAYA ROBINSON                               Social Security No. 5         2   3   3
 akas:                                                                       (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         01   11    2021

  COUNSEL                                                             Christy O’Connor, DFPD
                                                                            (Name of Counsel)

    PLEA             U GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                               CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          18 U.S.C. § 2422(a): ENTICEMENT TO TRAVEL IN INTERSTATE COMMERCE TO ENGAGE IN CRIMINAL
          SEXUAL ACTIVITY as charged in the Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of: TIME SERVED.


It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program.

Defendant shall pay restitution in the total amount of $1,000 to victims as set forth in a separate victim list prepared by the probation
office which this Court adopts and which reflects the Court's determination of the amount of restitution due to each victim. The victim
list, which shall be forwarded to the fiscal section of the clerk's office, shall remain confidential to protect the privacy interests of the
victims.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after release from custody, nominal
monthly payments of at least 10% of defendant's gross monthly income but not less than $25, whichever is greater, shall be made
during the period of supervised release and shall begin 30 days after the commencement of supervision. Nominal restitution payments
are ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or future payment of the
amount ordered.

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another priority order
or percentage payment is specified in the judgment.

The defendant shall comply with General Order No. 18-10.

Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that she is unable to pay
and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Tamyzia Preshaya Robinson, is
hereby committed on Count Three of the Indictment to the custody of the Bureau of Prisons for a term of TIME SERVED.

CR-104 (wpd 10/18)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                             Page 1 of 4
               Case 2:17-cr-00561-GW Document 101 Filed 01/11/21 Page 2 of 6 Page ID #:893

 USA vs.       TAMYZIA PRESHAYA ROBINSON                                       Docket No.:    CR 17-561-GW

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all necessary
treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five years under the following terms
and conditions:

         1.          The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
                     Office and General Order 18-10, including the conditions of probation and supervised release set forth in
                     Section III of General Order 18-10.

         2.          During the period of community supervision, the defendant shall pay the special assessment and restitution
                     in accordance with this judgment's orders pertaining to such payment.

         3.          The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4.          The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
                     one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
                     exceed eight tests per month, as directed by the Probation Officer.

         5.          The defendant shall participate in an outpatient substance abuse treatment and counseling program that
                     includes urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer. The defendant
                     shall abstain from using alcohol and illicit drugs, and from abusing prescription medications during the period
                     of supervision.

         6.          The defendant shall participate in mental health treatment, which may include evaluation and counseling,
                     until discharged from the program by the treatment provider, with the approval of the Probation Officer.

         7.          As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
                     treatment to the aftercare contractors during the period of community supervision. The defendant shall
                     provide payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
                     to pay, no payment shall be required.

         8.          When not employed or excused by the Probation Officer for schooling, training, or other acceptable reasons,
                     the defendant shall perform 20 hours of community service per month for the first year as directed by the
                     Probation & Pretrial Services Office.

         9.          The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered
                     financial obligation. In addition, the defendant shall apply all monies received from lottery winnings,
                     inheritance, judgments and any anticipated or unexpected financial gains to the outstanding Court-ordered
                     financial obligation.

         10.         Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the
                     registration current, in each jurisdiction where defendant resides, where the defendant is an employee, and
                     where the defendant is a student, to the extent the registration procedures have been established in each
                     jurisdiction. When registering for the first time, the defendant shall also register in the jurisdiction in which
                     the conviction occurred if different from defendant's jurisdiction of residence. The defendant shall provide
                     proof of registration to the Probation Officer within 48 hours of registration.

         11.         The defendant shall not contact the victims, by any means, including in person, by mail or electronic means,
                     or via third parties. Further, the defendant shall remain at least 100 yards from the victims at all times. If any
                     contact occurs, the defendant shall immediately leave the area of contact and report the contact to the
                     Probation Officer.

         12.         The defendant shall possess and use only those computers and computer-related devices, screen user names,
CR-104 (wpd 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                Page 2 of 4
               Case 2:17-cr-00561-GW Document 101 Filed 01/11/21 Page 3 of 6 Page ID #:894

 USA vs.       TAMYZIA PRESHAYA ROBINSON                                     Docket No.:       CR 17-561-GW

                     passwords, email accounts, and internet service providers (ISPs) that have been disclosed to the Probation
                     Officer upon commencement of supervision. Any changes or additions are to be disclosed to the Probation
                     Officer prior to the first use. Computers and computer-related devices include personal computers, personal
                     data assistants (PDAs), internet appliances, electronic games, cellular telephones, and digital storage media,
                     as well as their peripheral equipment, that can access, or can be modified to access, the internet, electronic
                     bulletin boards, and other computers.

         13.         All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be
                     subject to search and seizure. This shall not apply to items used at the employment's site, which are
                     maintained and monitored by the employer.

         14.         The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
                     defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per month
                     per device connected to the internet.

         15.         The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement
                     or probation officer, of the defendant's person and any property, house, residence, vehicle, papers, computers
                     [as defined in 18 U.S.C. § 1030(e)(1)], cell phones, other electronic communication or data storage devices
                     or media, effects and other areas under the offender's control, upon reasonable suspicion concerning a
                     violation of a condition of supervision or unlawful conduct by the defendant, or by any probation officer in
                     the lawful discharge of the officer's supervision functions.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Investigation Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the
Presentence Investigation Report by the treatment provider is prohibited without the consent of the sentencing judge.

The Government's request to dismiss the remaining counts of the underlying Indictment is granted.

The Court advises defendant of her rights to an appeal. The Court recommends, but does not order, that defendant (1) be considered
for placement in the Residential Drug Abuse Program (RDAP) while incarcerated; and (2) serve her term at a federal facility in
Northern California.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            January 11, 2021
            Date                                                  GEORGE H. WU, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            January 11, 2021                                 By   /s/ Javier Gonzalez
            Filed Date                                            Deputy Clerk




CR-104 (wpd 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                 Page 3 of 4
               Case 2:17-cr-00561-GW Document 101 Filed 01/11/21 Page 4 of 6 Page ID #:895

 USA vs.     TAMYZIA PRESHAYA ROBINSON                                               Docket No.:      CR 17-561-GW


 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    he defendant must report to the probation office in the federal               convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   As directed by the probation officer, the defendant must notify specific
       her at any time at home or elsewhere and must permit confiscation             persons and organizations of specific risks posed by the defendant to
       of any contraband prohibited by law or the terms of supervision and           those persons and organizations and must permit the probation officer to
       observed in plain view by the probation officer;                              confirm the defendant’s compliance with such requirement and to make
 8.    The defendant must work at a lawful occupation unless excused by              such notifications;
       the probation officer for schooling, training, or other acceptable      15.   The defendant must follow the instructions of the probation officer to
       reasons and must notify the probation officer at least ten days               implement the orders of the court, afford adequate deterrence from
       before any change in employment or within 72 hours of an                      criminal conduct, protect the public from further crimes of the
       unanticipated change;                                                         defendant; and provide the defendant with needed educational or
                                                                                     vocational training, medical care, or other correctional treatment in the
                                                                                     most effective manner.




CR-104 (wpd 10/18)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 4 of 4
               Case 2:17-cr-00561-GW Document 101 Filed 01/11/21 Page 5 of 6 Page ID #:896
             The defendant must also comply with the following special conditions (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including
 any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 5 of 4
               Case 2:17-cr-00561-GW Document 101 Filed 01/11/21 Page 6 of 6 Page ID #:897
 USA vs.     TAMYZIA PRESHAYA ROBINSON                                           Docket No.:      CR 17-561-GW




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 4
